 Case 3:05-cr-30086-NJR            Document 569 Filed 05/11/06         Page 1 of 1       Page ID
                                             #1125



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
vs.                                             )   CRIMINAL NO. 05-30086-07-GPM
                                                )
RUBEN TORRES,                                   )
                                                )
                      Defendant.                )


      ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF
            GUILT, AND NOTICE OF SENTENCING
MURPHY, Chief District Judge:

       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of Defendant Ruben Torres to Counts 1 and

7 of the Indictment is hereby accepted, and Defendant is adjudged guilty of such offenses.

       A Presentence Investigation Report is ordered. The Court will defer a decision on the Plea

Agreement pending review of the Presentence Investigation Report.

       Sentencing is hereby scheduled for Monday, August 7, 2006, at 9:00 a.m.

       IT IS SO ORDERED.

       DATED: 5/10/06

                                                    s/ G. Patrick Murphy
                                                    G. PATRICK MURPHY
                                                    Chief United States District Judge
